                    UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF NORTH CAROLINA
                           DURHAM DIVISION

PLANNED PARENTHOOD SOUTH           )
ATLANTIC; BEVERLY GRAY, M.D., on   )
behalf of themselves and their     )
patients seeking abortions,        )
                                   )               Case No: 1:23-CV-480
              Plaintiffs,
                                   )
              v.
                                   )
                                   )                   PROPOSED ORDER
JOSHUA H. STEIN, Attorney General )
of North Carolina, in his official )
capacity; et al.,                  )
                                   )
              Defendants.          )


      Defendants move the Court to reschedule the Preliminary

Injunction Hearing from September 21, 2023, to September 25

or 26, 2023. Good cause therefore having been shown, the Motion

is   GRANTED,   and   it   is   hereby       ORDERED   that   the   Preliminary

Injunction Hearing is calendared for ____________________________.



                                   __________________________________________
                                   Catherine C. Eagles
                                   United States District Judge




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